Case 2:22-cv-00547-MJH Document 149-2 Filed 04/25/24 Page 1 of 20




                 EXHIBIT A
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page12ofof19
                                                                  20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page23ofof19
                                                                  20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page34ofof19
                                                                  20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page45ofof19
                                                                  20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page56ofof19
                                                                  20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page67ofof19
                                                                  20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page78ofof19
                                                                  20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page89ofof19
                                                                  20
Case
 Case2:22-cv-00547-MJH
       2:22-cv-00547-MJH Document
                          Document149-2
                                   145 Filed
                                        Filed 04/16/24
                                              04/25/24 Page
                                                       Page 910ofof1920
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page10
                                                            11ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page11
                                                            12ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page12
                                                            13ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page13
                                                            14ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page14
                                                            15ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page15
                                                            16ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page16
                                                            17ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page17
                                                            18ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page18
                                                            19ofof19
                                                                   20
Case
 Case2:22-cv-00547-MJH
      2:22-cv-00547-MJH Document
                         Document149-2
                                  145 Filed
                                       Filed04/16/24
                                             04/25/24 Page
                                                       Page19
                                                            20ofof19
                                                                   20
